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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                          At GREENBELT

     IN RE:                                         *

     Jason Christopher Rodd                         *
     Karen Lynn Rodd
                                                    *      Case Number: 15-24170
                                                           Chapter 13
              Debtors                               *


                                              CHAPTER 13 PLAN

               __ Original Plan            X Amended Plan            ___ Modified Plan
              The Debtor proposes the following Chapter 13 plan and makes the following declarations:

1.   The future earnings of the Debtor are submitted to the supervision and control of the Trustee, and
     Debtor will pay as follows (select only one):

     a.       $__________________ per month for a term of __________ months. OR

     b.              $ 589.00 per month for 2 month(s),
                     $ 610.00 per month for 12 months
                     $ 1,069.00 per month for 33 month(s),
                     $ 1,515.00 per month for 13 month(s), for a
                     total term of 60 months. OR

     c.       $__________________ per month prior to confirmation of this plan, and $_________ per
              month after confirmation of this plan, for a total term of _________ months (if this option is
              selected, complete 2.e.i).

2.   From the payments received, the Trustee will make the disbursements in the order described below:
     a.     Allowed unsecured claims for domestic support obligations and trustee commissions.

     b.       Administrative claims under 11 U.S.C.      507(a)(2), including attorney’s fee balance of
              $3,000.00 (unless allowed for a different amount by an order of the Court) per Appendix
              F(4)(b).

     c.       Claims payable under 11 U.S.C. 1326(b)(3). Specify the monthly payment: $ ___________.

     d.       Other priority claims defined by 11 U.S.C. § 507(a)(3)-(10). The Debtor anticipates the
              following priority claims:

              Internal Revenue Service $ 1,790.79

     e.       Concurrent with payments on non-administrative priority claims, the
              Trustee will pay secured creditors as follows:


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       i.      Until the plan is confirmed, adequate protection payments and/or personal property
               lease payments on the following claims will be paid directly by the Debtor; and, after
               confirmation of the plan, the claims will be treated as specified in 2.e.ii and 2.e.iii,
               below (designate the amount of the monthly payment to be made by the Debtor prior
               to confirmation, and provide the redacted account number (last 4 digits only), if any,
               used by the claimant to identify the claim):

Claimant               Redacted Acct. No.            Monthly Payment
Capital One Bank       3548                          $1,747.84

       ii.     Pre-petition arrears on the following claims will be paid through equal monthly
               amounts under the plan while the Debtor maintains post-petition payments directly
               (designate the amount of anticipated arrears, and the amount of the monthly payment
               for arrears to be made under the plan):

Claimant               Anticipated Arrears           Monthly Payment                No. of Mos.
Capital One Bank       $23,389.41                    $434                           54
Chase Auto Finance     $491.58                       $10                            54
Ford Motor Credit      $387.15                       $8                             54

       iii.    The following secured claims will be paid in full, as allowed, at the designated interest
               rates through equal monthly amounts under the plan:

Claimant               Amount                  % Rate Monthly Payment       No. of Mos.:


       iv.     The following secured claims will be satisfied through surrender of the collateral
               securing the claims (describe the collateral); any allowed claims for deficiencies will
               be paid pro rata with general unsecured creditors; upon confirmation of the plan, the
               automatic stay is lifted, if not modified earlier, as to the collateral of the listed
               creditors:


       v.      The following secured claims are not affected by this plan and will be paid outside of
               the plan directly by the Debtor:


       vi.     If any secured claim not described in the previous paragraphs is filed and not
               disallowed, that claim shall be paid or otherwise dealt with outside the plan directly by
               the Debtor, and it will not be discharged upon completion of the plan.

       vii.    In the event that the trustee is holding funds in excess of those needed to make the
               payments specified in the Plan for any month, the trustee may pay secured claims
               listed in paragraphs 2.e.ii and 2.e.iii in amounts larger than those specified in such
               paragraphs.



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     f.      After payment of priority and secured claims, the balance of funds will be paid pro rata on
             allowed general, unsecured claims. (If there is more than one class of unsecured claims,
             describe each class.)

3.   The amount of each claim to be paid under the plan will be established by the creditor's proof of
     claim or superseding Court order. The Debtor anticipates filing the following motion(s) to value a
     claim or avoid a lien. (Indicate the asserted value of the secured claim for any motion to value
     collateral.):

             Motion to Avoid Lien – DiTech Financial, LLC - $44,949.00

4.   Payments made by the Chapter 13 trustee on account of arrearages on pre-petition secured claims
     may be applied only to the portion of the claim pertaining to pre-petition arrears, so that upon
     completion of all payments due under the Plan, the loan will be deemed current through the date of
     the filing of this case. For the purposes of the imposition of default interest and post-petition charges,
     the loan shall be deemed current as of the filing of this case.

5.   Secured Creditors holding claims subject to cramdown will retain their liens until the earlier of the
     payment of the underlying debt determined under nonbankruptcy law, or discharge under § 1328; and
     if the case is dismissed or converted without completion of the plan, the lien shall also be retained by
     such holders to the extent recognized under applicable nonbankruptcy law.

6.   The following executory contracts and/or unexpired leases are assumed (or rejected, so indicate); any
     unexpired lease with respect to personal property that has not previously been assumed during the
     case, and is not assumed in the plan, is deemed rejected and the stay of §§ 362 and/or 1301 is
     automatically terminated:


7.   Title to the Debtor’s property shall revest in the Debtor when the Debtor is granted a discharge
     pursuant to 11 U.S.C. §1328, or upon dismissal of the case, or upon closing of the case.

     Non-standard Provisions:

     The Debtor(s) shall provide the Trustee with copies of State and Federal tax returns for the years designated
     below within 15 days of filing the returns (and shall timely file the returns on or before April 15 of each year
     due). No later than June 1st of each year, the Debtor(s) shall pay into the plan the amount of the refunds for
     each of the designated years. The tax refund payments will be in addition to, not a credit against, the monthly
     payments required to be paid under the plan. The Debtors will not make any change to the amount of annual
     tax withholdings under the W-4 statement(s) existing as of the date of the petition without 30 days prior notice
     to the Trustee.

     This commitment covers tax years: 2015-2019


     February 19, 2016                                         /s/ Jason Christopher Rodd
     Date                                                      Debtor


     /s/ Kevin K. Shipe                                        /s/ Karen Lynn Rodd
     Attorney for Debtor                                       Joint Debtor
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